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                                         IN RE: OIL SPILL by “Deepwater Horizon”
                      LOCAL GOVERNMENT ENTITY SHORT FORM (VOLUNTARY) 1
                        Authorized by Order of the Court, Civil Action No. 10-md-2179 Rec. Doc. 1549

                   (Copies of said Order having also been filed in Civil Actions No. 10-9999 and 10-2771)

    MDL 2179                                                        SECTION: J                                          JUDGE CARL BARBIER
     CLAIM IN LIMITATION-JOINDER IN MASTER ANSWER-INTERVENTION AND VOLUNTARY
          JOINDER IN LOCAL GOVERNMENT MASTER COMPLAINT – PROFILE FORM
     By submitting this document, the governmental entity identified below is asserting a claim in Complaint and
     Petition of Triton Asset Leasing GmbH, et al., No. 10-2771; adopts and incorporates the Master Answer [Rec.
     Doc. 235] to the Complaint and Petition of Triton Asset Leasing Gmbh, et al., in No. 10-2771; and intervenes into,
     joins and otherwise adopts the Local Government Entity Master Complaint [Rec. Doc. 1510] filed in MDL No.
     2179 (10-md-2179).

     GOVERNMENTAL BODY OR ENTITY

     Body/Entity

     County/Parish

     State

     Primary Physical Address

     City/State/Zip


     PRIMARY OFFICER, ATTORNEY, OR
     OTHER CONTACT
     Name                                                                    State / Bar No. (if attorney)

     Address                                                                 Phone

     City/State/Zip                                                          E-Mail Address


     Claim Filed with BP?
                                    YES                 NO
     Claim No.
     Claim Type (Please check all that apply):

               Loss of Tax Revenue / Income / Use
               Damage, Destruction, or Diminution in Value of Property
               Response, Removal, Clean-Up, Restoration and/or Remediation Costs
               Civil or Criminal Penalties
               Punitive Damages
               Other Damages or Loss ___________________________________________




1
  This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in
Civil Action No. 10‐9999. While this Local Government Entity Short Form is to be filed in CA No. 10‐9999, by prior order of the Court, (Rec. Doc.
253, C.A. No. 10‐2771 and Rec. Doc. 1510 in MDL 2179), the filing of this form in C.A. No. 10‐9999 shall be deemed to be simultaneously filed in C.A.
10‐2771 and MDL 2179.
                                                                               1

                      The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff Profile Form.
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 Brief Description:


         1. For loss of tax revenue, loss of income, or loss of use claims, please describe the type
            of revenue, income or use you claim was lost, e.g., sales tax revenue, nature of the
            loss, and the time period over which the claimed loss occurred.




         2. For damage, destruction or diminution in the value of property, please describe the
            location of the property or properties affected, your ownership interest in each
            property, and the type of damage you allege, including whether oil or dispersants
            touched the property.




         3. For claims for civil or criminal penalties, please provide the statutory (or other)
            authority and briefly describe the factual basis for such claims.




_____________________________________________________
Signature of Authorized Attorney, Official or other Representative

_____________________________________________________
Printed Name

_____________________________________________________
Date
                                                                     2

            The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff Profile Form.
